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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

C. TATE GEORGE,
HONORABLE ANNE E. THOMPSON

Petitioner,

v. Civil Action
No. 17-2641 (AET)
UNITED STATES OF AMERICA,

Respondent. ORDER

 

 

This matter having come before the Court on Petitioner’s motion under rule 150.20 (ECF
No. 43) and motion to immediately unseal Petitioner’s post-trial evidence, (ECF No. 45); the
Court having considered the submissions of the Petitioner, Fed. R. Civ. 78(b); and for the

reasons explained in the Opinion of today’s date; and for good cause shown;

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IT 1S this 4 day of

, 2019, hereby

 

ORDERED that Petitioner’s motion under rule 150.20 (ECF No. 43) is DISMISSED AS
MOOT; and it is further

ORDERED that Petitioner’s motion to immediately unseal Petitioner’s post-trial
evidence, (ECF No. 45) is DENIED WITHOUT PREJUDICE; and it is finally

ORDERED that the Clerk shall serve a copy of this Order and Opinion on Petitioner by

regular mail.

ANNE E. THOMPSQN
U.S. District Judg

 

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